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   Attorneys for Plaintiff and Counter-
 8 Defendant KST Data, Inc.
 9                            UNITED STATES DISTRICT COURT
10               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11
12 KST DATA, INC., a California                CASE NO. 2:17-cv-07927 SJO (SKx)
   Corporation,
13                                             DECLARATION OF ASHLEY D.
                Plaintiff,                     BOWMAN IN SUPPORT OF
14                                             PLAINTIFF KST DATA, INC.’S
          vs.                                  OPPOSITION TO ENTERPRISE
15                                             SERVICES LLC’S REQUEST AND
   DXC TECHNOLOGY COMPANY, a                   MOTION FOR RECONSIDERATION
16 Nevada Corporation; ENTERPRISE              OF COURT’S MARCH 13, 2019
   SERVICES LLC, a Delaware Limited            AWARD OF PRE-JUDGMENT
17 Liability Company; and DOES 1-10,           INTEREST
18                     Defendants.             [Filed Concurrently With KST’s
                                               Opposition to ES’s Request and Motion
19                                             for Reconsideration of Court’s March 13,
   ENTERPRISE SERVICES LLC, a                  2019 Award of Pre-Judgment Interest]
20 Delaware Limited Liability Company,
21                     Counterclaimant,        Assigned to Hon. S. James Otero
22               vs.
23 KST DATA, INC., a California
   Corporation,
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                Counterdefendant.
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          BOWMAN DECLARATION ISO PLAINTIFF’S OPPOSITION TO MOTION FOR RECONSIDERATION
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 1                         DECLARATION OF ASHLEY D. BOWMAN
 2               I, Ashley D. Bowman, declare as follows:
 3               1.    I am an active member of the Bar of the State of California and an
 4 attorney with Bird, Marella, Boxer, Wolpert, Nessim, Drooks, Lincenberg & Rhow,
 5 A Professional Corporation (“Bird Marella”), attorneys of record for Plaintiff and
 6 Counter-Defendant KST Data, Inc. in this action. I make this Declaration in support
 7 of KST’s Opposition to Enterprise Services LLC’s Motion for Reconsideration of the
 8 Court’s March 13, 2019 Award of Pre-Judgment Interest. Except for those matters
 9 stated on information and belief, I make this declaration based upon personal
10 knowledge and, if called upon to do so, I could and would so testify.
11               2.    During discovery in this matter, KST stated that it was seeking interest
12 on its damages in the amount of 18% per annum based upon the contractual terms on
13 its invoices to ES. However, ES never followed up on these statements or made any
14 effort to ask about the invoice terms at deposition or in written discovery.
15               3.    ES first gave notice that it was filing a motion for reconsideration on the
16 morning of April 10, 2019. While ES’s purported Notice of Motion states that
17 counsel conferred on March 20 about ES’s motion for reconsideration, that statement
18 is not accurate. Rather, March 20 was the date that my colleague Nicole Van Dyk
19 and I conferred with ES’s counsel, Attison Barnes, III and Rebecca Saitta, about
20 KST’s Motion for Attorneys’ Fees, seven days in advance of the March 27 filing date.
21 During that call, Mr. Barnes and Ms. Saitta did not provide notice of filing any
22 motion, ES’s purported grounds for any motion, or proposed motion hearing dates.
23 Indeed, they did not mention filing any motion at all, unless Mr. Barnes is
24 characterizing his statements that ES intended to oppose KST’s fee motion because
25 the Court’s Judgment and Order were wrong as a meet-and-confer conference on
26 ES’s motion for reconsideration. There was no discussion of an ES motion for
27 reconsideration on March 20.
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          BOWMAN DECLARATION ISO PLAINTIFF’S OPPOSITION TO MOTION FOR RECONSIDERATION
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 1               4.   On April 10, without any prior notice or arrangement, Mr. Barnes, lead
 2 counsel for ES, called me to state that ES intended to file a motion for
 3 reconsideration later that day, and that ES would set the motion for hearing on
 4 May 20 or May 28. I informed Mr. Barnes that I was not available to meet and
 5 confer without prior notice, was only able to speak for a few minutes at the time he
 6 called, and could not attend either of his proposed hearing dates. I also informed Mr.
 7 Barnes that Nicole Van Dyk, lead counsel for KST, would need to participate in the
 8 meet-and-confer call, and that I would contact him as soon as I could that day once I
 9 determined when Ms. Van Dyk and I could meet and confer about the motion and
10 hearing dates. I checked my phone records following this call and determined that I
11 had spoken with Mr. Barnes for approximately 3.5 minutes on April 10.
12               5.   A few hours later on April 10, I emailed Mr. Barnes to offer that we
13 meet and confer when Ms. Van Dyk and I were both available, either two days later
14 on Friday, April 12, or the following Monday, April 15, and to request that ES set the
15 hearing for June 6. However, Mr. Barnes ignored these offers to meet and confer and
16 proceeded to file ES’s Motion on April 10 without conducting a conference of
17 counsel. A true and correct copy of the email exchange between KST’s counsel and
18 Mr. Barnes on this issue is attached as Exhibit 1.
19               6.   In two emails to KST’s counsel—one sent 90 minutes before ES filed its
20 motion and another sent a couple of days later, Mr. Barnes stated that he would be
21 willing to have a further discussion with KST’s counsel about ES’s motion for
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          BOWMAN DECLARATION ISO PLAINTIFF’S OPPOSITION TO MOTION FOR RECONSIDERATION
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 1 reconsideration if KST was willing to withdraw its request for 18% pre-judgment
 2 interest.
 3               I declare under penalty of perjury under the laws of the United States of
 4 America that the foregoing is true and correct, and that I executed this declaration on
 5 May 20, 2019, at Los Angeles, California.
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 7                                                         /s/ Ashley D. Bowman
                                                           Ashley D. Bowman
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          BOWMAN DECLARATION ISO PLAINTIFF’S OPPOSITION TO MOTION FOR RECONSIDERATION
